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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANNE WEST, TOM BROWN,                                Civil Action No. 2:19-cv-0501-AJS

                       Plaintiffs,

       v.                                            LEAD CASE

DOCUSIGN, INC.,

                       Defendant.

                                                     Civil Action No. 1:19-cv-129-AJS
KAREN CLARK,

                       Plaintiff,
                                                     MEMBER CASE
       v.

SHOPRUNNER, INC.,
                                                     Electronically Filed
                       Defendant.


                               STIPULATION FOR DISMISSAL

       COMES NOW Plaintiff Karen Clark and Defendant Shoprunner, Inc., by and through

their undersigned counsel, pursuant to F.R.C.P. 41(a)(1)(A)(II), and stipulate to the following:

       1.      This action shall be dismissed, with prejudice, as between Plaintiff Karen Clark

and Defendant Shoprunner, Inc.

       2.      Each party shall bear their own costs and fees, including attorneys’ fees.

Dated: August 1, 2019

   THE SWEET LAW FIRM, P.C.                          MORGAN, LEWIS & BOCKIUS, LLP
   By:     /s/ Benjamin J. Sweet                     By: /s/ Beth S. Joseph
   Benjamin J .Sweet, Esq.                           Beth S. Joseph, Esq.
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   Attorneys for Plaintiff                           Attorneys for Defendant Shoprunner, Inc.
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                                CERTIFICATE OF SERVICE

       I certify that on the 1st day of August, 2019, the foregoing document was electronically

filed through the Court’s CM/ECF system, which will send notification of such filing to all

counsel of record.

                                              /s/ Benjamin J. Sweet
                                             Benjamin J .Sweet, Esq.




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